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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                          MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                     SECTION “N” (5)
THIS DOCUMENT RELATES TO
ALL CASES


            MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION
            TO DISMISS PLAINTIFFS’ MASTER LONG FORM COMPLAINT


I.      INTRODUCTION

        Plaintiffs in MDL 2740 are individuals who allege that Defendants’ cancer drugs Taxotere,

Docefrez, Docetaxel Injection and Docetaxel Injection Concentrate (hereinafter, collectively,

“Taxotere”) caused them physical harms—specifically, permanent or persisting baldness, or

alopecia. By agreement of the parties, the Master Long Form Complaint, and Demand for Jury

Trial (“Master Complaint”)1 serves the administrative purpose of identifying the common factual

allegations upon which all Plaintiffs in these consolidated actions may base their claims, and sets

forth the various causes of action to which those facts would give rise under various states’ laws.

The resulting causes of action, which largely arise from Defendants’ omission, concealment, and

active misrepresentations regarding Taxotere’s side effects and efficacy are: (I) Strict Products

Liability – Failure to Warn; (II) Strict Products Liability – Misrepresentation; (III) Negligence;

(IV) Negligent Misrepresentation; (V) Fraudulent Misrepresentation; (VI) Fraudulent

Concealment; (VII) Fraud and Deceit; and (VIII) Breach of Express Warranty (against the Sanofi



1
  Rec. Doc. 312, as amended by Rec. Doc. 689 (First Amended Master Long Form Complaint and Demand for Jury
Trial). To avoid any confusion, and because Defendants’ memorandum in support of their motion to dismiss
references paragraph numbers in Rec. Doc. 312, Plaintiffs do so as well in this memorandum in opposition.
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entities only).

         Defendants’ Motion to Dismiss under Federal Rules of Civil Procedure 12(b)(6) and 9(b)

argues not only that each of these eight causes of action is insufficiently pleaded, but also that the

Master Complaint is deficient as a whole. These arguments, however, proceed not on the

allegations contained in the Master Complaint but rather on Defendants’ mischaracterizations and

selective representations of them. Defendants’ positions are altogether divorced from Plaintiffs’

actual pleadings, which, as Plaintiffs illustrate below, more than sufficiently meets the standards

of Federal Rules 8 and 9, for non-fraud and fraud-based claims, respectively.

         Further, Defendants ignore the administrative function of the Master Complaint and instead

raise arguments based on the laws of cherry-picked jurisdictions. This is wholly inappropriate, as

the question for the Court at this time is whether the Master Complaint sets forth causes of action

under any state’s law, not under every state’s law.2 Any arguments to the contrary undermine the

very purpose of the Master Complaint, and the Court should reject them, reserving such

individualized, jurisdiction-specific inquiries until consideration of individual cases, either in

representative trials or upon remand. Accordingly, Defendants’ arguments are without merit and

their Motion to Dismiss should be denied.




2
  Indeed, the exemplar Short Form Complaint (see PTO No. 37) provides Plaintiffs with the opportunity to
supplement the allegations of the Master Complaint, as necessary to allege specific state law causes of action
applicable to their individual claims.
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II.     THE MASTER COMPLAINT’S ALLEGATIONS OF FACT

        In order to assist in the Court’s orderly assessment of the allegations at issue in Defendants’

Motion, Plaintiffs herein devote part of their briefing to a narrative summary of the Master

Complaint’s contents.

        A.      Allegations of Causation

        Plaintiffs’ allegations that Defendants’ Taxotere products caused their physical injuries

begin in the very first paragraph of the Master Complaint’s Introduction. (Compl. ¶ 4, Doc. 312.)

There, Plaintiffs allege, for the first of many times, that Taxotere can and does cause permanent

hair loss, which Plaintiffs point out is a “devastating,” “common,” and “now well-documented

side effect that for years has been publicized in numerous scientific studies, articles, and

presentations.” (Id.; see also id. at ¶ 5 (“Plaintiffs are women who were diagnosed with breast

cancer, underwent chemotherapy using Taxotere [...], and now suffer from permanent hair loss, a

side effect for which they were not warned and were wholly unprepared.”).) In addition, the Master

Complaint describes numerous studies, papers, and articles illustrating the causative link between

use of Taxotere and the permanent alopecia alleged therein. (Id. at ¶¶ 149-162, 183-187.)

        Aside from allegations that Taxotere can and did cause physical injuries in Plaintiffs, the

Master Complaint sets forth allegations that Defendants’ negligence, failures to warn,

misrepresentations, concealments, and frauds were the but-for causes of those injuries.

Specifically, Plaintiffs allege that, had their health care providers known that permanent hair loss

could result from Taxotere use, those providers would have selected a different treatment option—

one of the “effective alternatives to these drugs that do not lead to this devastating side effect [...]”

(Id. at ¶ 5; see also id. at ¶ 230.) Further, each of the Master Complaint’s eight counts maintain



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that the pleaded acts and/or omissions caused Plaintiffs to be treated with Taxotere and suffer

injuries. (See id. at ¶¶ 231, 239, 247, 258, 266, 276.)

        B.       Allegations Specific to Each Defendant3

        Plaintiffs have alleged with specificity the labeling deficiencies at issue for each Defendant

named in the Master Complaint—the Sanofi Defendants as well as the eleven 505(b)(2)

Defendants who manufactured, developed, formulated, sponsored, and/or marketed Taxotere

products. The Master Complaint offers for each Defendant a timeline illustrating its failures to

warn of and concealment of the risk of permanent alopecia. (See id. at ¶¶ 46-50 (Sandoz Inc.); ¶¶

60-63 (Accord Healthcare, Inc. and McKesson Corporation); ¶¶ 72-74 (Hospira, Inc. and Hospira

Worldwide, LLC); ¶¶ 84-86 (Sun Pharma Global FZE and Sun Pharma Pharmaceutical Industries,

Inc.); ¶¶ 94-97 (Pfizer Inc.); ¶¶ 106-108 (Actavis LLC and Actavis Pharma Inc.); ¶¶ 124-138

(Sanofi entities).) For example, the Master Complaint alleges the dates that Defendant Sandoz Inc.

filed its New Drug Application (NDA) #201525 for its drug Docetaxel Injection on September 16,

2010, which was approved by the FDA on June 29, 2011. (Id. at ¶¶ 43, 45.) Plaintiffs then allege

the relevant contents of Docetaxel Injection’s labeling at the time it was first marketed and the date

of each supplemental New Drug Application (sNDA) by Sandoz to update the drug’s label. (Id. at

¶¶ 46-48.) The Master Complaint thereafter alleges the current label’s contents, as well as its

alleged deficiencies. (See id. at ¶¶ 49-50.) Details as to each of the other Defendants’ NDA and




3
  In Rec. Doc. 689 (First Amended Master Long Form Complaint and Demand for Jury Trial), the parties agreed to
amend the Master Complaint (Rec. Doc. 312) to correctly name certain Defendants. Here, Plaintiffs use the naming
conventions used in the First Amended Master Complaint, because it has no impact on the issues before the Court.

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sNDAs are then pleaded in turn. (See id. at ¶¶ 60-63; ¶¶ 72-74; ¶¶ 84-86; ¶¶ 94-97; ¶¶ 106-108; ¶¶

124-138.)

       C.      Allegations Relating to Defendants’ Knowledge of Taxotere Risks

       The Master Complaint, at Sections III and IV, sets forth allegations of substantial and

specific scientific reporting, which Defendants knew or should have known in light of its

pervasiveness in the channels Defendants are tasked with monitoring. This notice began with the

1998 Sanofi-sponsored trial GEICAM 9805, which revealed that 9 percent of high-risk breast

cancer patients administered Taxotere suffered hair loss for up to 10 years. (See id. at ¶¶ 149, 183.)

The Master Complaint also pleads details of the several studies conducted and published since

2006 supporting Taxotere’s link to permanent hair loss, (see, e.g., ¶¶ 150, 158-162, 184, 186), and

case reports published since 2009 highlighting instances of the same (see, e.g., ¶¶ 152, 157, 185).

It further alleges Defendants’ knowledge through the following: journalistic articles and reports

by The Globe and Mail and CBS News on permanent alopecia following Taxotere use (id. at ¶¶

153-156); Sanofi’s 2008 response to an inquiry from a Taxotere patient wherein the drugmaker

acknowledged “non-reversible” and “ongoing” alopecia references in papers published in two

medical journals (id. at ¶ 151); and foreign Taxotere labels and safety databases that contain

warnings of the same or similar side effects at issue in this litigation (id. at ¶¶ 164, 167-169, 189.)

These factual allegations, when viewed in the light most favorable to Plaintiffs, establish that

Taxotere’s propensity for causing permanent alopecia was known or knowable by all Defendants,

and not just the Sanofi entities.

       D.      Allegations Relating to Sales and Marketing

       In Section V, the Master Complaint highlights instances of Sanofi’s misrepresentations,

beyond those appearing in Taxotere’s label, to consumers, physicians, and the general public.

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Plaintiffs recount the substantial direct-to-consumer marketing push Sanofi made with its

“Connection Card” gift packages beginning as early as 2000. (See id. at ¶¶ 192-195.) Plaintiffs

also allege specific instances in 2002 where Sanofi, through its U.S. sales force, promoted Taxotere

to physicians for off-label, unapproved indications (e.g., “for first-line treatment of locally

advanced or metastatic breast cancer”), using unsupported efficacy claims and underemphasizing

the drug’s risks. (See id. at ¶¶ 196-202.) Moreover, the Master Complaint identifies at least three

2003 direct-to-consumer magazine advertisements with efficacy misrepresentations that caused

the FDA to take further action against Sanofi. (Id. at ¶¶ 203-207.) Plaintiffs allege that Sanofi

directed its Taxotere sales force to downplay inconclusive clinical trial results, emphasize the

results of weaker trials, and distort the actual safety profile of the drug (including lethal side

effects) as compared to Taxol. (Id. at ¶ 208.) This was done to falsely promote the “superior

efficacy” of Taxotere over Taxol to prescribers and consumers from 2007 until after the FDA

directed Sanofi to stop in 2009. (Id. at ¶¶ 208-213.)

III.     LEGAL STANDARD

         A.     Rules 8(a)(2) and 9(b), Generally

         Under Federal Rule of Civil Procedure 8(a)(2), a plaintiff need only provide “‘a short and

plain statement of the claim showing that the pleader is entitled to relief,’ in order to ‘give the

defendant fair notice of what the ... claim is and the grounds upon which it rests.’” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)); see

also Erickson v. Pardus, 551 U.S. 89, 93 (2009). Accordingly, under Rule 8’s general notice-

pleading regime, a plaintiff need not provide detailed factual allegations. Twombly, 550 U.S. at

555; see also Erickson, 551 U.S. at 93 (“Specific facts are not necessary [...]”). When evaluating

the sufficiency of a complaint, the court reads its allegations in the way most favorable to plaintiff,

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accepting well-pleaded allegations as true and drawing inferences in favor of the plaintiff.

Campbell v. Wells Fargo Bank, N.A., 781 F.2d 440, 442 (5th Cir. 1986).

       Nothing in the Supreme Court’s recent pleadings jurisprudence casts doubt on these

general principles. See Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010) (“Critically,

in none of the three recent decisions—Twombly, Erickson, or Iqbal—did the Court cast any doubt

on the validity of Rule 8 of the Federal Rules of Civil Procedure.”); Brooks v. Ross, 578 F.3d 574,

581 (7th Cir. 2009). “While legal conclusions can provide the framework of a complaint, they

must be supported by factual allegations.” Iqbal, 556 U.S. at 679. However, “[s]pecific facts are

not necessary,” Erickson, 551 U.S. at 93; the “[f]actual allegations must be enough to raise a right

to relief above the speculative level, on the assumption that all of the complaint’s allegations are

true (even if doubtful in fact),” Twombly, 550 U.S. at 555 (citations omitted). The Supreme Court

has been careful to note, however, that the “plausibility” requirement “does not impose a

probability requirement at the pleading stage; it simply calls for enough fact to raise a reasonable

expectation that discovery will reveal evidence” supporting the plaintiff’s legal claims. Id. at 556;

see also Iqbal, 556 U.S. at 678 (“The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that defendant has acted unlawfully.”).

         Regarding claims of fraud, although Rule 9 requires a heightened pleading standard,

Rule 9 “must not be read to abrogate Rule 8,” and a court in “considering a motion to dismiss for

failure to plead fraud with particularity should always be careful to harmonize the directives of

Rule 9(b) with the broader policy of notice pleading.” Friedlander v. Nims, 755 F.2d 810, 813 n.3

(11th Cir. 2001). Because the Master Complaint provides Defendants with sufficient notice of the

claims asserted by Plaintiffs in this straightforward products liability action, Defendants have

adequate information about all claims to enable them to answer Plaintiffs’ Master Complaint.

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       B.      Special Concerns for MDLs

       In light of the administrative purpose served by master complaints, several MDL courts

have refused to entertain motions to dismiss master complaints where doing so would require case-

specific rulings to determine the sufficiency of each individual plaintiff's factual allegations. See

In re Zimmer Nexgen Knee Implant Prods. Liab. Litig., 2012 WL 3582708 (N.D. Ill. 2012); In re

Nuvaring Prods. Liab. Litig., 2009 WL 4825170, at *2 (E.D. Mo. Dec. 11, 2009); In re Trasylol

Prods. Liab. Litig., 2009 WL 577726, at *8 (S.D. Fla. Mar. 5, 2009). For example, faced with over

400 separate cases, the Trasylol court assessed the sufficiency of the master complaint’s fraud

claims with “substantial leniency,” concluding that the specificity demanded by defendant would

“completely remov[e] the compromise and attempt at efficiency the Parties and [the court] had in

mind in allowing the filing of the Consolidated Master Complaint.” Id. at *8. Similarly, the

Nuvaring court concluded that case-specific rulings on the sufficiency of the plaintiffs’ allegations

“are neither the purpose, nor the forte of a court presiding over a multi-district litigation.”

Nuvaring, 2009 WL 4825170, at *2 (quoting In re Phenypropanolamine Prods. Liab. Litig., 2004

WL 2034587, at *2 (W.D. Wash. Sept. 3, 2004)). Rather, “[a] MDL seeks to promote judicial

economy and litigant efficiency by allowing the transferee court to preside over matters common

among all cases [...] Given this function, the transferee court typically does not rule on

cumbersome, case-specific legal issues.” Id. Instead, the proper court to hear dispositive motions

concerning the sufficiency of plaintiff-specific allegations is the transferor court, Manual for

Complex Litigation (Fourth) § 22.37 (“When the MDL pretrial proceedings are concluded and

individual cases are remanded to the transferor courts, the transferor judge must decide whether

additional discovery and other pretrial work require completion, including deciding dispositive



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motions”), or this Court when it considers Short Form Complaints in exemplar cases.

IV.     ARGUMENT

        A.     The Master Complaint Is Not a “Shotgun Pleading” in Violation of Rule 8’s
               Pleading Standards.

        Defendants complain that each count of the Master Complaint incorporates by reference

“long narrative sections” of the Master Complaint, “making it virtually impossible for Defendants

to identify which facts are part of which cause of action.” (Defs. Mem. Doc. 489-1 at 5.) They

assert that these pleadings place an unreasonable burden on them in responding to the allegations

of the Master Complaint and on this Court in interpreting the pleadings. Moreover, Defendants

urge that through the assertion of seven of eight causes of action against “all Defendants,” they

and this Court cannot determine which Defendants have engaged in which acts, thereby providing

them with inadequate notice of the grounds for the claims against each Defendant.

        Defendants’ contentions echo those made by the defendants in Trasylol, 2009 WL 577726,

at *5. There, plaintiffs incorporated by reference all general allegations contained in the preceding

paragraphs of the complaint in each count and, according to defendants, the counts were therefore

deficient because these “shotgun pleadings” only “vaguely allege[d] that ‘Defendants’—without

specifying which defendant, when or to whom the statement was directed—made unspecified

‘innocent, negligent and/or willful misrepresentations regarding the safety, efficacy, and risk

benefit ration [sic] of Trasylol … [and] concealed material facts from physicians and consumers

… concerning the character and safety of Trasylol in their ‘advertising, promoting and otherwise.’”

Id. Finding that the complaint was not a shotgun pleading and was sufficient to adequately put the

defendants on notice of the claims against them, the MDL court distinguished between shotgun

pleadings “where a party throws every fact into every claim and hopes that something sticks,” and

pleadings which contain “mere surplusage,” i.e., factual allegations that are incorporated into a
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particular count but do not necessarily add anything to the claim. Id. at *6 (citing Bailey v. Janssen

Pharmaceutica, Inc., 2008 WL 2898214 (11th Cir. 2008)).

       Likewise, in In re Zimmer, 2012 WL 3582708, the court, after surveying MDLs throughout

the country that implemented the filing of master complaints, noted that “[w]ith more than 549

individual actions already consolidated in this litigation, the Master Complaint cannot be expected

to include specific factual matter for claims that require plaintiff-specific proof.” Id. at *4 (citing

Manual for Complex Litigation (Fourth) §22.37). Recognizing the “substantial leniency” afforded

the allegations of the master complaint in Trasylol, the court found that, in general, the allegations

of the complaint “give Defendants sufficient notice of the nature of the [design] defect Plaintiffs

allege [and] support a reasonable inference that the product failed to perform as an ordinary

consumer would expect…” Id. at *9. The court also reached similar conclusions with regard to

plaintiffs’ failure to warn, negligent misrepresentation, express warranty, implied warranty and

fraud claims and declined to dismiss those claims. Id. at *10-12.

         Here, considering that this MDL is comprised of claims from nearly all of the 50 states,

Plaintiffs cannot be expected to plead the laws of all jurisdictions, the specific misconduct of each

Defendant and the misrepresentations any single Defendant made to any particular Plaintiff or

healthcare provider. Defendants have been provided with more than adequate notice of the claims

asserted by Plaintiffs to allow Defendants to plead to these claims, and any surplusage in the

Master Complaint, assuming there is any, does not render it an improper “shotgun pleading.”

       B.      Plaintiffs Have Adequately Pleaded Causation.

       Similarly, Defendants complain that the Master Complaint fails to include specific

allegations of causation, such as, inter alia, failing to allege that “docetaxel caused their alleged

permanent hair loss…that absent their use of docetaxel, they would not have experienced

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permanent hair loss… [and] had the labeling said something different about alopecia, Plaintiffs’

prescribing physicians would have made a different prescribing decision.” (Defs.’ Mem. , Doc.

489-1 at 7-8.) Setting aside that Defendants have overstated the necessary elements of a products

liability action throughout their causation arguments, such a challenge is not appropriate with

respect to a master complaint. With hundreds of actions consolidated in this MDL proceeding, “the

Master Complaint cannot be expected to include specific factual matter for claims that require

plaintiff-specific proof.” In re Zimmer, 2012 WL 3582708, at *4.

         Plaintiffs’ allegations of causation are more than adequate in light of the purpose of the

Master Complaint. Moreover, and contrary to Defendants’ contention, Plaintiffs have included

express allegations that Defendants’ conduct caused their injuries. Plaintiffs allege:

       ¶4[Defendants] have known for years that these drugs cause permanent hair loss, a
       now well-documented side effect that for years has been publicized in numerous
       scientific studies, articles, and presentations. Despite this, these brand-name entities
       failed to warn patients and healthcare providers of the risk of permanent hair loss
       and report this risk to the Food and Drug Administration (“FDA”). Instead,
       Defendants hid this devastating side effect. In fact, some brand-name entities still
       fail to disclose that permanent hair loss is a common side effect.

       ¶5 Plaintiffs are women who were diagnosed with breast cancer, underwent
       chemotherapy using Taxotere, Docetaxel Injection, Docetaxel Injection
       Concentrate and/or Docefrez, and now suffer from permanent hair loss, a side effect
       for which they were not given warned and were wholly unprepared. Had Plaintiff
       and Plaintiffs’ healthcare providers known that permanent hair loss could result,
       they would have selected a different treatment option – effective alternatives to
       these drugs that do not lead to this devastating side effect are used regularly.

        ¶6-7 As a result of this undisclosed side effect, Plaintiffs have struggled to return
       to normalcy, even after surviving cancer […] Defendants failed, and some still fail,
       to warn that permanent or irreversible hair loss is a common side effect of Taxotere
       [...] and Plaintiffs have been unable to weigh this devastating possibility when
       deciding among treatment options.

       ¶8 Plaintiffs in these individual actions have suffered personal injuries as a result
       of the use of Taxotere, Docetaxel Injection, Docetaxel Injection Concentrate and
       Docefrez.

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        ¶9 Plaintiffs have suffered personal injuries as a direct and proximate result of
        Defendants’ conduct and misconduct as described herein […]

        ¶230 Plaintiffs would not have used Taxotere, Docefrez, Docetaxel Injection and
        Docetaxel Injection Concentrate had they (and their physicians) been provided an
        adequate warning by Defendants of the risks of these side effects [permanent
        alopecia].

        ¶231 As a direct and proximate result of Defendants’ failure to warn of the
        potentially severe adverse effects [permanent alopecia] of Taxotere [etc.], Plaintiffs
        suffered and continue to suffer serious and dangerous side effects […] including
        permanent alopecia […]

These specific allegations of causation are more than sufficient to meet Plaintiffs’ burden under

Rule 8 to adequately allege causation, where individualized allegations are not possible in a Master

Complaint. Plaintiffs’ allegations directly address, either implicitly or explicitly, all of the

pleadings deficiencies advanced by Defendants. This includes that: Taxotere causes permanent

hair loss (Compl. ¶ 4, Doc. 312); absent use of Taxotere Plaintiffs would not have experienced

permanent hair loss (id. at ¶ 5); another drug would have successfully treated Plaintiffs’ cancer (id.

at ¶ 5); Plaintiffs’ physicians read the label (id. at ¶ 230); and, had the labeling adequately warned

about alopecia, Plaintiffs’ prescribing physicians would have altered their prescribing decisions

(id. at ¶¶ 6-7).4 More specific allegations of causation could not, as a practical matter, be included

in the Master Complaint. As the Trasylol court noted, it would be impossible to satisfy Defendants’

demands of specificity “without completely removing the compromise and attempt at efficiency”

sought by the Master Complaint procedure. Trasylol, 2009 WL 577726, at *8.




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  The “heeding presumption,” applicable under the laws of some states, including Louisiana, assumes that
if an adequate warning had been provided, the plaintiff’s physician would have followed that warning and
the plaintiff would not have been injured. In re Xarelto (Rivaroxaban) Prod. Liab. Litig., No. 2592, 2017
WL 1393480, at *3 (E.D. La. Apr. 17, 2017) (citing Bloxom v. Bloxom, 512 So.2d 839, 850 (La. 1987)).
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         C.     Plaintiffs Have Sufficiently Alleged a Strict Products Liability Claim for
                Misrepresentation.

         The second claim for relief in the Master Complaint asserts a cause of action for strict

products liability for misrepresentation—a theory of recovery found in § 402B of the Restatement

(Second) of Torts. Defendants assert this claim should be dismissed because (1) not all states

recognize a § 402B cause of action; (2) Plaintiffs have not pleaded any express misrepresentations;

and (3) Plaintiffs’ allegations lack specificity. As detailed below, none of these arguments have

merit.

                1.      Universal availability of Restatement §402B liability is not a pleading
                        requirement for Plaintiffs’ Master Complaint.

         Defendants contend that not all states recognize a §402B cause of action for strict products

liability for misrepresentation. This is irrelevant in the context of the Master Complaint. As noted

above, the Master Complaint serves the administrative purpose of identifying the factual

allegations upon which Plaintiffs may base their claims. The Master Complaint is not intended to

include causes of action applicable to all Plaintiffs but is drafted “in the broadest sense, pursuant

to all applicable laws and pursuant to choice of law principles, including the law of each Plaintiff’s

home state.” (Compl. ¶ 2; Doc. 312.) Indeed, the Master Complaint specifically anticipates this,

providing that “individual Plaintiffs will adopt this Master Complaint and selected causes of action

herein through the use of a separate Short Form Complaint.” (Id. at ¶ 3.) Thus, the unavailability

of a strict products liability claim for misrepresentation in all jurisdictions provides no basis for

dismissal of this cause of action.

                2.      Plaintiffs have sufficiently alleged express misrepresentations to state a
                        claim for strict products liability under Rule 8.

         Defendants assert that Plaintiffs have failed to allege any express misrepresentation, only

“representations inferred from the nondisclosure of facts.” (Defs.’ Mem., Doc. 489-1 at 12.) The
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allegations contained in the Master Complaint belie this assertion. For instance, Plaintiffs have

clearly conveyed that Defendants did not merely omit warnings about the known risk of permanent

alopecia, but repeatedly positioned Taxotere as a safe and effective treatment that had greater

efficacy and survival outcome than its competitors. (Compl. ¶¶ 191-213, Doc. 312.) Plaintiffs have

alleged that “Sanofi directed its U.S. sales force to misrepresent the safety and effectiveness of the

off-label use of Taxotere to expand the market for Taxotere in unapproved settings, such as a first-

line of treatment or for early-stage breast cancer.” (Id. at ¶ 197.) In addition, Plaintiffs allege a

series of advertisements, each of which was censured by the FDA; Plaintiffs have specified the

publications or other media in which each misleading message appeared. (See id. at ¶¶201-206.)

Plaintiffs have adequately pleaded that Defendants’ misrepresentations were specific, explicit, and

intended to induce Plaintiffs to consume Taxotere.

                3.     Plaintiffs’ allegations of Defendants’ misrepresentations are sufficiently
                       particular to meet Rule 9(b) standards, even though they need only
                       comply with Rule 8.

       Defendants’ argument that allegations sounding in strict products liability for

misrepresentation require heightened particularity runs contrary to the language of Rule 9(b),

which by its terms applies only to allegations of fraud (or mistake). The plain language of the

Restatement demonstrates that fraud is not an element of a § 402B cause of action:

       One engaged in the business of selling chattels who, by advertising, labels, or
       otherwise, makes to the public a misrepresentation of a material fact concerning the
       character or quality of a chattel sold by him is subject to liability for physical harm
       to a consumer of the chattel caused by justifiable reliance upon the
       misrepresentation, even though . . . it is not made fraudulently or negligently.

Restatement (Second) of Torts § 402B (1965) (emphasis supplied); (See also Defs.’ Mem., Doc.

489-1 at 11.)

       Defendants nonetheless claim that America Realty Trust, Inc. v. Travelers Casualty &

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Surety Company of America, 362 F. Supp. 2d 744 (N.D. Tex. 2005), supports the application of

Rule 9(b) to Plaintiffs’ misrepresentation claims. Not so. Unlike Plaintiffs’ Master Complaint, the

complaint in American Realty, originally filed in state court, included a single hybrid count labeled

“fraud and negligent representation.” Upon removal to federal court, the plaintiff acknowledged

that the fraud allegations had not been pleaded in accordance with Rule 9(b)’s particularity

requirements. Id. at 748. Rather than attempt to untangle the factual basis for the “fraud” claim

from the “negligent” representation claim, the court dismissed the entirety of the allegations

without prejudice, but noting specifically that “the text of Rule 9(b) precludes any interpretation

that would require a plaintiff to plead negligent misrepresentation, per se, in conformity with the

heightened requirements.” Id. at 749 (“Rule 9(b) has no application to circumstances that do not

constitute fraud or mistake, such as nonfraudulent misrepresentation.”).

       Even if Plaintiffs are under a burden to allege fraudulent conduct with the particularity

required by Rule 9(b), Plaintiffs’ Master Complaint is more than sufficient. As explained infra in

Section E, Defendants are more than adequately apprised of the specific conduct (the “who, what,

when, where, and how”) of which Plaintiffs complain, and cannot reasonably suggest that the

Master Complaint has left them unable to prepare a master answer.

       D.        Plaintiffs Have Adequately Pleaded Breach of Express Warranty Against the
                 Sanofi Defendants.

         In their eighth claim for relief, Plaintiffs assert a breach of express warranty claim limited

to the Sanofi-related entities. The Sanofi Defendants contend principally that Plaintiffs have failed

to identify any information that was “expressly warranted” to Plaintiffs or their prescribing

physicians, and that Plaintiffs have pleaded only omissions of warnings they allege should have

been included.


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         Regarding the Sanofi Defendants’ claim that Plaintiffs have not pleaded an express

warranty, Plaintiffs allege in Paragraph 313 of the Master Complaint that:

       Defendants expressly warranted to Plaintiffs and Plaintiffs’ healthcare providers
       that Taxotere, Docefrez, Docetaxel Injection, and Docetaxel Injection Concentrate
       were safe and fit for the use for the purposes intended, that they did not produce
       any dangerous side effects in excess of those risks associated with other forms of
       treatment for cancer, that the side effects they did produce were accurately reflected
       in the warnings, and that they were adequately tested.

(Compl. ¶ 313, Doc. 312.) Similar allegations have been found sufficient by other courts. For

example, in Young v. Bristol-Meyers Squibb Co., 2017 WL 706320, at *14-15 (N.D. Miss. Feb.

22, 2017), nearly identical allegations pertaining to the drug Farxiga were found to have been

alleged with enough specificity to survive the defendants’ motion to dismiss. In reaching this

conclusion, the court recognized that a claim for breach of express warranty is not subject to the

heightened pleading standards of Rule 9(b) and that under Rule 8’s relaxed pleading standards

numerous “courts have found similar allegations to be sufficient to state a claim for express

warranty.” Id. at *15; see also Rayford v. Karl Storz Endoscopy Am., Inc., 2016 WL 4398513

(W.D. La. June 22, 2016) (finding under Louisiana law the express warranty by defendants that

“their product was safe and effective for the procedure” plaintiff underwent was sufficient to

support a breach of express warranty claim); Ivory v. Pfizer, Inc., 2009 WL 3230611, at *5 (W.D.

La. Sept. 30, 2009) (finding that the allegations of the complaint concerning breach of express

warranty were more than enough at the pleading stage under Twombly “to raise a right to relief

above the speculative level”); Harris v. Merck & Co., Inc., 2012 WL 1970882, at *3 (W.D. La.

Nov. 1, 2012) (finding that plaintiff’s complaint adequately provided notice of his express

warranty claim despite his failure to “point to the specific warranty language it alleges was

violated”).


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         Next, the Sanofi Defendants complain of Plaintiffs’ failure to identify how Plaintiffs or

their prescribing physicians supposedly relied on any express warranty. As the MDL Court

remarked in In Re Zimmer, 2012 WL 3582708, at *12, “this court cannot envision a Master

Complaint pleaded with the type of plaintiff-specific particularity Defendants believe is

necessary.” Plaintiffs have stated in paragraph 315 of the Master Complaint that they and their

healthcare providers relied on Defendants’ express warranties in electing to “purchase and use

their product,” and under the relaxed pleading standards of Rule 8, as well as the substantial

leniency with which a plaintiff-specific claim should be viewed at this stage of the litigation,

Plaintiffs have adequately pleaded reliance upon Defendants’ express warranties. (Compl. ¶315,

Doc. 312.)

       Lastly, the Sanofi Defendants claim they cannot be held liable for how any product, other

than their own, was allegedly warranted and cite Johnson v. Teva Pharmaceuticals U.S.A. Inc.,

758 F. 3d 605, 616 (5th Cir. 2014), in support of this proposition. While Johnson was decided

under Louisiana law and found that a brand-name drug manufacturer could not be held liable for

injuries caused by ingestion of a generic drug, the law on this so-called “innovator liability” is not

nearly as settled under the laws of other states. For example, in McNair v. Johnson & Johnson,

2017 WL 2333843 (4th Cir. May 30, 2017), the Fourth Circuit recently certified to the Supreme

Court of Appeals of West Virginia the question “[w]hether West Virginia law permits a claim of

failure to warn and negligent misrepresentation against a branded drug manufacturer when the

drug ingested was produced by a generic manufacturer.” Id. at *1. The court found that under

California, Vermont, and Alabama law the brand-name manufacturers could be held liable for

harm caused by a generic drug, whereas the laws of Louisiana, Oklahoma, Florida, Tennessee, and

Arkansas would prohibit the imposition of liability. Id. at *4. Because it is beyond dispute that in

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certain jurisdictions innovator liability is actionable, this is not a basis for the Sanofi Defendants

to seek dismissal of the express warranty claim in the Master Complaint.

        E.      Plaintiffs’ Misrepresentation and Negligent Misrepresentation Claims Are
                Sufficiently Pleaded under Rule 8, and Plaintiffs’ Fraud-Based Claims Meet
                the Heightened Requirements of Rule 9.

                1.       Rule 9(b) does not apply to the Master Complaint’s negligent
                         misrepresentation and strict liability misrepresentation causes of action,
                         which are not premised on allegations of fraud.

        Defendants assert that Rule 9(b) applies to Plaintiffs’ misrepresentation (discussed supra

at Part C(3)) and negligent misrepresentation claims because those claims are premised on

Defendants’ “false and misleading statements and omissions.” This is an incorrect statement of

law unsupported by the cases Defendants cite, including Benchmark Electronics, Inc. v. J.M.

Huber Corp., 343 F.3d 719, 723 (5th Cir. 2003), and Lone Star Ladies Investment Club v.

Schlotzsky’s Inc., 238 F.3d 363, 368 (5th Cir. 2001). In fact, the district court’s opinion in

American Realty (which Defendants themselves cite) has explicitly rejected Defendants’

argument—i.e., that misrepresentation or negligent misrepresentation claims “become subject to

heightened pleading simply because they are based on the same set of operative facts as

corresponding fraud claims.” 362 F. Supp. 2d at 749. Under a proper reading of the jurisprudence

on Rule 9(b), it is not the causes of action that are subject to heightened pleading standards, but

rather any component, fraud-based averments of fact that are pleaded in support of those causes of

action.5




5
  “As an initial matter, the text of Rule 9(b) precludes any interpretation that would require a plaintiff to
plead negligent misrepresentation, per se, in conformity with the heightened requirements.” Id. at 749. “This
means that Rule 9(b) has no application to circumstances that do not constitute fraud or mistake, such as
nonfraudulent misrepresentation.” Id. (citing Benchmark Elec., Inc., 343 F.3d at 723 (“Rule 9(b) by its
terms does not apply to negligent misrepresentation claims.”)).

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       The only circumstances where Rule 9(b) might apply to and warrant dismissal of a claim

for which fraud is not in fact an element is where that claim is nonetheless based upon inadequately

specific averments of fraud. Id. at 750 (citing Melder v. Morris, 27 F.3d 1097, 1100 (5th Cir.

1994)). In other words, dismissal is only required where an “inadequate fraud claim is so

intertwined with the negligent misrepresentation claim that it is not possible to describe a simple

redaction that removes the fraud claim while leaving behind a viable misrepresentation claim.” Id.

(“One must first disregard inadequate averments of fraud. At that point, Rule 9(b) is no longer

relevant. The remaining question is whether a negligent misrepresentation claim is stated under

the standard notice pleading principles applicable to such claims.”)

       The Master Complaint’s negligent misrepresentation and strict-liability misrepresentation

causes of actions are well pleaded independently from any allegations of fraud that may appear

incidentally therein. First, with regard to the negligent misrepresentation claim, even if allegations

that might arguably touch on fraudulent and deceptive intent, willful acts, or motive are not

considered (see Compl. ¶¶ 251-254, Doc. 312.), Plaintiffs have more than sufficiently pleaded an

actionable claim under standard notice pleadings. The Master Complaint avers that “Defendants

had a duty to represent to Plaintiffs [and others] that Taxotere, Docefrez, Docetaxel Injection, and

Docetaxel Injection Concentrate had been tested and found to be safe and effective for the

treatment of various forms of cancer” (id. at ¶ 249) and that they breached that duty (1) by

“negligently represent[ing] that they had been tested and [were] found to be safe and/or effective

for [their] indicated use” (id. at ¶ 250); (2) by failing “to exercise ordinary and reasonable care in

their representations of Taxotere while involved in its manufacture, sale, testing, quality assurance,

quality control, and or distribution” (id. at ¶ 255); (3) by negligently misrepresenting the drugs’

“high risks of unreasonable, dangerous side effects” (id.); and (4) by “misrepresenting [the drugs’]

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serious side effects to Plaintiffs” and others (id. at ¶ 256). Plaintiffs have further pleaded reliance

(id. at ¶ 257), causation (id. at ¶ 258), and damages (id.). In addition, with regard to Plaintiffs’

strict liability misrepresentation claim, that cause of action relies on no averments of fraud

whatsoever that might be subject to Rule 9(b)’s heightened pleading requirements. (See id. at ¶¶

232-239, discussed in Part C, supra.) Accordingly, Rule 9(b) has no import for the Master

Complaint’s strict liability misrepresentation and negligent misrepresentation claims, which are

not based on averments of fraud.6

                2.      The Master Complaint’s Fraud-Based Causes of Action Comply with
                        Rule 9(b)’s Requirements.

        The Master Complaint’s claims of fraudulent misrepresentation, fraudulent concealment,

and fraud and deceit allege facts at length that are sufficient to meet Rule 9(b)’s standards. The

Rule requires a party alleging fraud to “state with particularity the circumstance constituting

fraud,” except for “[m]alice, intent, knowledge, and other conditions of a person’s mind,” which

“may be alleged generally.” Fed. R. Civ. P. 9(b). “Rule 9b should be applied with a view to its

purposes which are (1) to inform the defendants of the claimed wrong and enable them to formulate

an effective response; and (2) to protect defendants from unfounded, conclusory charges of fraud.”

Carl v. Galuska, 785 F. Supp. 1283, 1287 (N.D. Ill. 1992); see also Sec. & Exch. Comm’n v.

Blackburn, 156 F. Supp. 3d 778 (E.D. La. 2015) (quoting Tuchman v. DSC Commc’ns Corp. 14

F. 3d 1061, 1067 (5th Cir. 1994)) (The heightened pleading standard of Rule 9(b) is meant to

“provide[] defendants with fair notice of the plaintiffs’ claims [and]…prevent[] plaintiffs from

filing baseless claims and then attempting to discover unknown wrongs”).


6
  Should the Court disagree and find that these claims by Plaintiffs are dependent on or inseparable from
averments of fraud, Plaintiffs respectfully direct the Court to Part E.2, which immediately follows and
outlines why Plaintiffs’ fraud allegations comply with Rule 9(b).

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        Just as with each of Defendants’ other arguments, Defendants here present the Court with

only a sliver of the entirety of Plaintiffs’ allegations in an attempt to characterize their claims as

deficient.7 Even a cursory look at the Master Complaint, however, reveals a pleading rich in detail,

especially as it pertains to averments of fraud. First, Master Complaint paragraphs 149 to 169

recite, with reference to many specific examples, allegations of Defendants’ knowledge, among

other things, of the propensity of their drugs to cause the injuries at issue in this MDL while

concealing it from and/or failing to warn patients, health care professionals, the medical

community, or the public in the U.S. (Compl. ¶¶ 149-169, Doc. 312.) Second, paragraphs 191-213

spell out nearly a decade of specific actions by Defendants to misleadingly and/or fraudulently

market their drugs’ relative safety and efficacy. (Id. at ¶¶ 191-213.) Further, each of the counts in

question incorporates (id. at ¶¶ 259, 267, 277) and often even lays out in additional detail (id. at

¶¶ 270, 284-296), the averments supporting the frauds alleged. Beyond that and without the benefit

of discovery, Plaintiffs should not be required to allege with more specificity facts which are

exclusively within Defendants’ knowledge. See U.S. ex rel. Willard v. Humana Health Plan of

Texas Inc., 336 F.3d 375, 385 (5th Cir. 2003) (“pleading requirements of Rule 9(b) may be to some

extent relaxed where . . .the facts relating to the alleged fraud are peculiarly within the perpetrator’s

knowledge”); see generally Michaels Bldg. Co. v. Ameritrust Co., N.A., 848 F.2d 674, 680 (6th

Cir. 1988) (“Courts have held that the [Rule 9(b) particularity requirement] may be relaxed where

information is only within the opposing party’s knowledge. Especially in a case in which there has

been no discovery, courts have been reluctant to dismiss the action where the facts underlying the

claims are within the defendant’s control.”) (internal citations omitted).


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  Indeed, Defendants present the Court with only four sentences from Plaintiffs’ 321-paragraph Master
Complaint, all of which are taken from the various counts and not the detailed, 220-paragraph fact section
that precedes them.
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        In sum, these allegations, taken together with the scope of an MDL and the administrative

purposes of a Master Complaint, more than meet the requirements of Rule 9(b), which is intended

to provide notice and advance fairness, especially considering the “substantial leniency” generally

afforded to Plaintiffs in complex litigations with special administrative concerns.

V.      CONCLUSION

        For the foregoing reasons, Defendants’ Motion to Dismiss should be denied. If any claim

is dismissed, Plaintiffs request leave to amend. See Jebaco Inc. v. Harrah’s Operating Co. Inc.,

587 F.3d 314, 322 (5th Cir. 2009) (“leave to amend is to be granted liberally unless the movant

has acted in bad faith or with a dilatory motive, granting the motion would cause prejudice, or

amendment would be futile”); Cates v. Int’l Tel. & Tel. Corp., 756 F.2d 1161, 1180 (5th Cir. 1985)

(“[D]eficiencies do not normally justify dismissal of the suit on the merits and without leave to

amend, at least not in the absence of special circumstances.”).



 Dated: July 31, 2017                            Respectfully submitted,


 /s/ Christopher L. Coffin                       /s/ Karen B. Menzies
 Christopher L. Coffin (#27902)                  Karen Barth Menzies (CA Bar #180234)
 PENDLEY, BAUDIN & COFFIN, L.L.P.                GIBBS LAW GROUP LLP
 1515 Poydras Street, Suite 1400                 400 Continental Boulevard, 6th Floor
 New Orleans, LA 70112                           El Segundo, CA 90245
 Phone: 504-355-0086                             Telephone: 510-350-9700
 Fax: 504-523-0699                               Facsimile: 510-350-9701
 ccoffin@pbclawfirm.com                          kbm@classlawgroup.com

 Plaintiffs’ Co-Lead Counsel                     Plaintiffs’ Co-Lead Counsel


 /s/M. Palmer Lambert                           /s/Dawn M. Barrios
 M. Palmer Lambert (#33228)                     Dawn M. Barrios (#2821)
 GAINSBURGH BENJAMIN DAVID                      BARRIOS, KINGSDORF & CASTEIX, LLP
 MEUNIER & WARSHAUER, LLC                       701 Poydras Street, Suite 3650
 2800 Energy Centre, 1100 Poydras Street        New Orleans, LA 70139
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New Orleans, LA 70163-2800              Phone: 504-524-3300
Phone: 504-522-2304                     Fax: 504-524-3313
Fax: 504-528-9973                       barrios@bkc-law.com
plambert@gainsben.com
                                        Plaintiffs’ Co-Liaison Counsel
Plaintiffs’ Co-Liaison Counsel


                        PLAINTIFFS’ STEERING COMMITTEE

Anne Andrews                             Daniel P. Markoff
Andrews Thornton Higgins Razmara, LLP    Atkins & Markoff Law Firm
2 Corporate Park, Suite 110              9211 Lake Hefner Parkway, Suite 104
Irvine, CA 92606                         Oklahoma City, OK 73120
Phone: (800) 664-1734                    Phone: (405) 607-8757
aa@andrewsthornton.com                   Fax: (405) 607-8749
                                         dmarkoff@atkinsandmarkoff.com

J. Kyle Bachus                           Abby E. McClellan
Bachus & Schanker, LLC                   Stueve Siegel Hanson LLP
1899 Wynkoop Street, Suite 700           460 Nichols Road, Suite 200
Denver, CO 80202                         Kansas City, MO 64112
Phone: (303) 893-9800                    Phone: (816) 714-7100
Fax: (303) 893-9900                      Fax: (816) 714-7101
kyle.bachus@coloradolaw.net              mcclellan@stuevesiegel.com


Lawrence J. Centola, III                 Karen Barth Menzies
Martzell, Bickford & Centola             Gibbs Law Group LLP
338 Lafayette Street                     400 Continental Boulevard, 6th Floor
New Orleans, LA 70130                    El Segundo, CA 90245
Phone: (504) 581-9065                    Phone: 510-350-9700
Fax: (504) 581-7635                      Fax: 510-350-9701
lcentola@mbfirm.com                      kbm@classlawgroup.com


Christopher L. Coffin                    David F. Miceli
Pendley, Baudin & Coffin, L.L.P.         Simmons Hanly Conroy
1515 Poydras Street, Suite 1400          One Court Street
New Orleans, LA 70112                    Alton, IL 62002
Phone: (504) 355-0086                    Phone: (618) 259-2222
Fax: (504) 523-0699                      Fax: (618) 259-2251
ccoffin@pbclawfirm.com                   dmiceli@simmonsfirm.com

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Alexander G. Dwyer                      Rand P. Nolen
Kirkendall Dwyer LLP                    Fleming, Nolen & Jez, L.L.P.
440 Louisiana, Suite 1901               2800 Post Oak Blvd., Suite 4000
Houston, TX 77002                       Houston, TX 77056
Phone: (713) 522-3529                   Phone: (713) 621-7944
Fax: (713) 495-2331                     Fax: (713) 621-9638
adwyer@kirkendalldwyer.com              rand_nolen@fleming-law.com

Emily C. Jeffcott                       Hunter J. Shkolnik
The Lambert Firm, PLC                   Napoli Shkolnik PLLC
701 Magazine Street                     360 Lexington Avenue, 11th Floor
New Orleans, LA 70130                   New York, NY 10017
Phone: (504) 581-1750                   Phone: (212) 397-1000
Fax: (504) 529-2931                     hunter@napolilaw.com
ejeffcott@thelambertfirm.com

Andrew Lemmon                           Genevieve Zimmerman
Lemmon Law Firm, LLC                    Meshbesher & Spence Ltd.
P.O. Box 904                            1616 Park Avenue South
15058 River Road                        Minneapolis, MN 55404
Hahnville, LA 70057                     Phone: (612) 339-9121
Phone: (985) 783-6789                   Fax: (612) 339-9188
Fax: (985) 783-1333                     gzimmerman@meshbesher.com
andrew@lemmonlawfirm.com




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                                CERTIFICATE OF SERVICE


       I hereby certify that on July 31, 2017, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants.

                                                /s/ M. Palmer Lambert
                                                M. PALMER LAMBERT




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